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EXhibit ll

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STATEMENT OF WILLIAM F. BAITY
DEPUTY DIRECTOR
FINANCIAL CRIMES ENFORCEMENT NETWORK
UNITED STATES DEPARTMENT 01= THE TREASURY

BEFORE THE
HOUsE FINANCIAL SERvIcEs SUBCOMMITTEE oN OVERSIGHT AND
INvEsTIGATIoNs

MAY 10, 2007

Chairman Watt, Ranl<ing Member Miller and distinguished members of
the Subcommittee, on behalf of our Director and the men and Women of the
Financial Crimes Enforcement Networl< (FinCEN), We appreciate this
opportunity to appear before you today to discuss the utility of information
provided by financial institutions in accordance with the provisions of the Bank
Secrecy Act (BSA). As the administrator of the BSA, FinCEN continually strives
to maintain the proper balance between the reporting requirements imposed
upon the financial services industry, and the need to ensure an unimpeded flow
of important information to law enforcement officials We take this
responsibility very seriously, and We look forward to Working With the Members
of this Subcommittee in our united fight to safeguard the U.S. financial system
against all types of illicit financial activities

I am also honored to appear today with Salvador Hernandez, Deputy
Assistant Director for the Crirninal Investigative Division of the Federal Bureau
of Investigations (FBI). Our partnership With the FBI, as Well as other law
enforcement agencies, allows for a seamless flow and effective utilization of BSA
information in our united fight against terrorist financing and money laundering

As you know, FinCEN's mission is to safeguard the financial system from
the abuses of financial crime, including terrorist financing, money laundering,
and other illicit financial activity. FinCEN works to achieve its mission through a
broad range of interrelated strategies, including:

> Administering the Banl< Secrecy Act - the United States’ primary anti-
money laundering/counter-terrorist financing regulatory regime;

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‘> Supporting law enforcement, intelligence, and regulatory agencies
through the sharing and analysis of financial intelligence; and

> Building global cooperation and technical expertise among financial
intelligence units throughout the World.

To accomplish these activities, FinCEN employs a team comprised of
approximately 300 dedicated federal employees, including analysts, regulatory
specialists, international specialists, technology experts, administrators
managers, and Federal agents who fall Within one of the following mission areas
at FinCEN:

0 Regulatory Policy and Programs - FinCEN issues regulations, regulatory
rulings, and interpretive guidance; assists state and federal regulatory
agencies to consistently apply BSA compliance standards in their
examination of financial institutions; and takes enforcement action against
financial institutions that demonstrate systemic non-compliance These
activities span the breadth of the financial services industries, including -
but not limited to - banks and other depository institutions; money
services businesses; securities broker-dealers; futures commission
merchants and introducing brokers in securities; dealers in precious
metals, stones, or jewels,' insurance companies; and casinos.

¢ Analysis and Law Enforcement Support - FinCEN provides federal,
state, and local law enforcement and regulatory authorities With
different methods of direct access to reports financial institutions
submit pursuant to the BSA. FinCEN also combines BSA data with
other sources of information to produce analytic products supporting
the needs of law enforcement, intelligence, regulatory, and other
financial intelligence unit customers Products range in complexity
from traditional subject-related research to more advanced analytic
work including geographic assessments of money laundering threats It
is this latter type of analytical work that We believe is where FinCEN
can and should focus its' limited resources to have the greatest impact.
I Will discuss this in more detail later in my statement

0 International Cooperation - FinCEN is one of 100 recognized national
financial intelligence units around the globe that collectively constitute
the Egmont Group. FinCEN plays a lead role in fostering international
efforts to combat money laundering and terrorist financing among these
financial intelligence units, focusing our efforts on intensifying
international cooperation and collaboration, and promoting
international best practices to maximize information sharing

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ADMINISTERING THE BSA

The BSA is the nation’s first and most comprehensive federal anti-money
laundering statute. Since it Was enacted in 1970, the BSA has been amended on
numerous occasions, most recently by the USA PATRIOT Act. Essentially the
BSA is a recordkeeping and reporting statute. The BSA authorizes the Secretary
of the Treasury to issue regulations requiring identified types of financial
institutions to submit certain information, to maintain certain records, to
implement appropriate anti-money laundering programs Under the BSA, these
efforts are focused on obtaining the information that has a high degree of
usefulness in criminal, tax, regulatory investigations and proceedings, and
certain intelligence and counter-terrorism matters The BSA data received
through Currency Transaction Reports (CTRs), Suspicious Activity Reports
(SARs), and other forms have proved to be highly valuable to our law
enforcement customers, Who use the information on a daily basis as they Work to
investigate, uncover, and disrupt the vast networks of money launderers,
terrorist financiers and other criminals In addition to obtaining information for
law enforcement, BSA programs help financial institutions protect themselves
and subsequently the U.S. financial system, from abuse from criminal actors

Part of FinCEN's mission is to push for the appropriate level of
transparency in the U.S. financial system so that money laundering, terrorist
financing and other economic crime can be deterred, detected, investigated, and
prosecuted. Our ability to tie together and integrate our regulatory,
international, and law enforcement efforts assists us to achieve consistency
across our regulatory regime.

The efficient administration of the BSA is much more than simply issuing
regulations To Work, it requires an ongoing partnership between the
government and private sector, which is critical in order to achieve the goals of
the system. One way to make this partnership work is the ongoing effort of the
Bank Secrecy Act Advisory Group (BSAAG). The BSAAG includes membership
from a diverse group of the types of financial institutions subject to the BSA, law
enforcement, federal and state, regulators, federal and state that come together
twice a year with FinCEN to discuss Ways in which the BSA can be administered
more efficiently. These discussions are open, frank and comprehensive Within
the BSAAG there are formulated sub-committees to address specific issues They
include Ways to improve exemption programs for the filing of C'I`Rs, the
registration processes for money service businesses (MSBs), general issues
associated with SAR forms, examination concerns, privacy issues, and the SAR
Activity Review, Which provides bi-annual SAR statistics FinCEN Will continue
to explore ways in which financial institutions can take advantage of the
exemption processes

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We have partnered With the federal and state regulators to encourage
financial institutions subject to the BSA to develop risk-based anti-money
laundering programs tailored to their businesses and provide guidance in this
regard. Such programs include the development and implementation of policies,
procedures, and internal controls needed to address financial crime, including
money laundering, terrorist financing, and other risks posed by that financial
institution’s products geographic locations served, and customer base.

We have learned that in order for this system to work, the government
must provide guidance and feedback to the industry in ways that support their
understanding of potential vulnerabilities, effective Ways to address those
vulnerabilities and the benefits derived from information reported by them. The
risk-based nature of the regulatory scheme also recognizes that financial
institutions are in the best position to design anti-money laundering/counter-
terrorist financing programs that address the specific risks that they face. In
other Words, the success of this regime depends upon the government and
financial institutions acting in true partnership - each committed to the goal of
taking reasonable steps to ensure that the financial system is protected from
criminals and terrorists to the greatest extent possible through the development
of appropriate programs and the sharing and dissemination of information

Ensuring that We strike the right balance between the cost and benefit of
this regulatory regime is one of FinCEN's central responsibilities Accordingly, it
is vital that we continue to examine how We can more effectively tailor this
regime to minimize the costs borne by financial institutions while at the same
time ensuring that the law enforcement, intelligence, and regulatory
communities receive the information they need.

SUBMISSION OF BSA REPORTS

In accordance With the committee's request, we have included relevant
statistics regarding the submission of reports pursuant to the BSA, The BSA’s
record keeping and reporting requirements increase transparency in the financial
system and help to create a financial ”paper trail” that law enforcement and
intelligence agencies use to track crirninals, their activities and their assets

Currently the forms for submitting information pursuant to the BSA
include:

0 Currency Transaction Reports (CTR) - currency transactions of $10,000 or
more or structuring

o Currency Transaction Reports by Casinos (CTR-C)

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o Currency Transaction Reports by Casinos - Nevada1

0 Suspicious Activity Report (SAR) - depository institutions

0 Suspicious Activity Report by Casinos and Card Clubs (SAR-C)

0 Suspicious Activity Report by a Money Service Business (SAR~MSB)

¢ Suspicious Activity Report by Securities and Futures Industries (SAR-SF)
0 Suspicious Activity Report by Casinos and Card Clubs (SAR-C)

0 Report of Intemational Transportation of Currency or Monetary
Instruments (CMIR)2

¢ Report of Foreign Bank and Financial Accounts (FBAR)
0 Registration of Money Services Business

v Report of Cash Payments over $10,000 Received in a Trade or Business
(Form 8300)

Preliminary data received from the Internal Revenue Service’s Enterprise
Computing Center in Detroit, which receives and processes BSA reports on
behalf of FinCEN shows the number of BSA reports filed in Fiscal Year 2006 rose
to approximately 17.6 million, compared to about 15.6 million in Fiscal Year 2005.
The reports filed most often are:

1. CTRs all types - 15,994,484 - Which are filed in connection With cash
deposits, withdrawals exchanges of currency, or other payments or
transfers by, through, or to a financial institution involving a transaction
(0r multiple transactions by or on behalf of the same person) in currency
exceeding $10,000.

2. SARs - all covered institutions - 1,049,149 ~ Which are filed in connection
With transactions that financial institutions know, suspect, or have reason
to believe, may be related to illicit activity. These reports are especially
useful to law enforcement and other relevant agencies because they reflect
activity considered problematic or unusual by financial institutions,
casinos, MSBs, and the securities industry.

 

;Nevada will be assimilated into the national system of BSA administration effective July 1, 2007.
2Collected by U S. Customs and Border Protection.

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In FY2006, approximately 43% of the CTRs viewed by Gateway users were
identified as ”of interest" to users at the time they were viewed. A review of
closed FinCEN investigative cases for FY 2006 revealed CTRs Were included in
almost a third of the total cases Moreover, nearly half of the cases completed for
domestic customers and ahnost a quarter of the cases completed for foreign
partners included CTRs

BSA DIRECT

Given the magnitude of reporting, we believe it is incumbent on FinCEN
as the administrator to examine how this data is collected. BSA Direct is an
overall umbrella project with several componentsl including: electronic filing,
retrieval and sharing, and secure access It is meant to be a system to handling
the data received, from submission to analysis to dissemination to our various
stakeholders.

The electronic filing and secure access components of BSA Direct have
been operational for a number of years The retrieval and sharing development
began conceptually in September of 2003, with a contract awarded on ]une 30,
2004. The retrieval and sharing (R&S) component of BSA Direct was, in part,
aimed at improving authorized users' access and ability to analyze the BSA data.
lt was designed to apply data warehousing technology to cleanse and structure
the data in a single, integrated, secure Web-based environment, and provide
sophisticated business intelligence and other analytical tools in a user-friendly
Web portal. Under this design, law enforcement and regulatory agencies would
gain easier, faster data access and enhanced ability to query and analyze the BSA
data - improvements that were expected to lead to increased use of the BSA data
and enhancements of its utility.

On March 15, 2006, FinCEN notified Congress of its intention to issue a
temporary 90-day "stop-Work“ order on this project This action was necessary
due to the project's inability to meet performance milestones. An assessment
team, comprised of management analysts, technology specialists and
independent consultants Was created shortly after the issuance of the stop-work
order to assess and refine core requirements for BSA information retrieval,
dissemination, sharing, and analysis; to determine Whether this component of
BSA Direct could be salvaged and / or leveraged by other alternatives; and to
define the best path to ensure business continuity.

On ]uly 10, 2006, the assessment team reported its findings and concluded
that BSA Direct R&S Was a partially built system that integrated a number of
best-in-class products that did not, in its present state, function Well together. As
a result, the system could not be deployed to any of FinCEN's users in the short
term. Moreover, FinCEN, the contractor, and our external consultants could not

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definitively predict how close the system was to meeting the envisioned
requirements or the time, resources and risks involved in completing the system.

Based on these findings the assessment team recommended that FinCEN
terminate the existing contract, assess immediate needs and plan for new
capabilities Based on the underlying information and analysis FinCEN
supported this recommendation and, therefore, on ]uly 13, 2006, terminated the
BSA Direct R&S contract

FinCEN is undergoing a bureau-Wide IT management analysis and
planning effort re-planning effort for BSA Direct R&S to address strategic,
technical, and resource planning issues With all of its IT systems as Well as
stakeholder analysis in order to identify a path forward. In addition, we Will
continue our efforts With the Intemal Revenue Service to implement WebCBRS
as a means of meeting internal and customer needs for BSA data query.

UTILI'I'Y OF THE INFORMATION SUBMITTED PURSANT TO THE BSA

FinCEN’s Analysis and Liaison Division is responsible for analyzing BSA
data and other information to produce analytic products supporting domestic
law enforcement, intelligence, and foreign financial intelligence unit (FIU)
customers In addition, this division acts as a liaison with domestic law
enforcement agencies and With counterpart FIUs in other countries They also
provide direct secure access to BSA data for domestic law enforcement and
regulatory agencies Their analytic products range in complexity from
traditional suspect-related reports to policy-level assessments of financial crime
threats Consistent with FinCEN’s strategic plan, analytic resources are being
transitioned toward analysis that focuses increasingly on FinCEN's unique skills
and knowledge of BSA data.

In Fiscal Year 2006, FinCEN produced 1,284 ”Basic” analytical products
Which consist of suspect-based database queries and reports requiring relatively
straightforward interpretation of findings By contrast, FinCEN produced 176
”Complex” analytical products These products include synthesis of data from
multiple sources interpretation of findings and recommendations for action
and / or policy. Examples are geographic threat assessments analyses of money
laundering/ illicit financing methodologies analytic support for major law
enforcement investigations and analysis of BSA compliance patterns Listed
below are a few examples of ”complex" analytic products produced by FinCEN:

Mortgage Loan Fraud - FinCEN’s Office of Regulatory Analysis conducted this
assessment to identify any trends or patterns that may be ascertained from an
analysis of SARs regarding suspected mortgage loan fraud. Analysts searched
the BSA database for SARs from depository institutions filed between April 1,
1996 and March 31, 2006 that contained ”Mortgage Loan Fraud” as a

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characterization of suspicious activity. The search retrieved 82,851 reports
Which Were examined to discern the trends and patterns revealed in this
assessment A random sample of 1,054 narratives Was reviewed for additional
analysis and revealed - among other trends addressed in this report - a sharp
increase in the number of SARs reporting mortgage loan fraud beginning in 2002.
We have received substantial positive feedback from the law enforcement,
regulatory and financial communities on this report 7

Domestic Shell Compam`es - In response to concerns raised by law enforcement,
regulators and financial institutions regarding the lack of transparency
associated with the formation of shell companies FinCEN prepared an internal
report in 2005 on the role of domestic shell companies (and particularly LLCs) in
financial crime and money laundering An updated Version of this report Was
publicly released in November 2006, along With an advisory to financial
institutions reminding them of the importance of identifying, assessing and
managing the potential risks associated With providing financial services to shell
companies FinCEN found that abuse of shell companies for illicit financial
purposes is not limited to activity within the U.S. A review of SAR data indicates
that suspected shell companies incorporated or organized in the U.S. have
moved billions of dollars globally from bank accounts located in foreign
countries such as Russia and Latvia.

Domestic Geographic Threat Assessments - In response to requests from the Texas
Departrnent of Public Safety and the Arizona Attorney General’s Office, FinCEN
prepared three major assessments of financial activity along the U.S. southwest
border to support state and federal drug and cash interdiction efforts These
three assessments based on analysis of all BSA reports filed in border countries
identified potential money laundering hotspots and significant changes in
financial activity to help states and federal authorities allocate resources on the
southwest border.

To understand the overall value of BSA reports it is important to obtain an
understanding of how they collectively Work in the detection/ prevention of
financial crime, For example, CTRs generally capture a transaction at a point in
time, If a customer makes a deposit in cash for $12,000 at his bank, within fifteen
days of the transaction the bank files a CTR. The C'l`R provides law enforcement
information that can be invaluable in an investigation including the following:
(1) who benefited from the transaction; (2) who conducted the transaction; (3) the
dollar amount of the transaction; (4) how the transaction Was conducted (in
person, ATM, night deposit etc),' (5) the purpose of the transaction (deposit,
wi thdrawal, purchase of monetary instruments etc.); (6) what account numbers are
affected; (7) where the transaction took place; and (8) When the transaction
occurred.

Financial institutions file Suspicious Activity Reports (SARs) after a

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subjective review of numerous variables including the appearance of avoiding
other filing requirements While this subjective review can often lead to a more
fulsome provision of facts to law enforcement, it works best in conjunction the
availability of the more objective reporting requirements

Both SARs and CTRs and work in conjunction to protect the US financial
system. Although difficult to quantify, there is arguably some deterrence value
associated With CTRs Nearly half (48%) of all SARs filed relate to
structuring/ BSA / money laundering Structuring is the process a person
performs to avoid a CTR and is illegal. The CTR, therefore, serves as a
benchmark for financial institutions and for those engaged in illegal activity.
Much of the SAR data law enforcement employs in protecting the U.S. financial
system derives from those Who attempt to avoid a CTR. FinCEN continues to
view CTRs useful in their own right because of the paper trail they create Which
We analyze. Moreover, a Well balanced and managed CTR regime also provides
a means of deterrence for illicit financial actors

In conclusion, Mr. Chairman, We are grateful for your leadership and that
of the other Members of this Subcommittee on these issues and we stand ready
to assist in your continuing efforts to ensure the safety and soundness of our
financial system. Thank you for the opportunity to appear before you today. I
look forward to any questions you have regarding my testimony.

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